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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

 MARION A. HUMPHREY, JR.                                                  PLAINTIFF

v.                            CASE NO. 4:21-CV-194-LPR

 STEVEN PAYTON                                                         DEFENDANT

                                      ANSWER

      Comes the Defendant, Steven Payton, by and through his attorneys, Attorney

General Leslie Rutledge and Senior Assistant Attorney General William C. Bird, and

for his Answer, does state:

      1.     Defendant denies the allegations contained in paragraph 1 of the

Complaint.

      2.     Paragraph 2 of the Complaint makes no allegations against the

Defendant, and therefore, demands no response of the Defendant. To the extent a

response is required, Defendant denies any and all allegations contained in

paragraph 2 of the Complaint.

      3.     Paragraph 3 of the Complaint does not require a response from the

Defendant as it sets forth a legal conclusion, but to the extent a response is required,

the Defendant denies any and all allegations contained therein.

      4.     Defendant admits venue is proper in this Court.

      5.     Defendant admits Plaintiff was a U.S. Citizen and Arkansas resident at

the time of the incident giving rise to this suit but is without knowledge sufficient to




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admit or deny the remaining allegations contained in paragraph 5 of the Complaint,

and therefore, all such allegations are denied.

      6.     Defendant admits he was a U.S. Citizen, Arkansas resident and an

Arkansas State Trooper at the time of the incident giving rise to this suit but denies

any and all remaining allegations contained in paragraph 6 of the Complaint.

      7.     Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 7 of the Complaint, and therefore, all such

allegations are denied.

      8.     Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 8 of the Complaint, and therefore, all such

allegations are denied.

      9.     Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 9 of the Complaint, and therefore, all such

allegations are denied. Defendant specifically denies he “arrested Marion for ‘driving

while black.’”

      10.    Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 10 of the Complaint, and therefore, all such

allegations are denied.

      11.    Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 11 of the Complaint, and therefore, all such

allegations are denied.




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      12.    Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 12 of the Complaint, and therefore, all such

allegations are denied.

      13.    Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 13 of the Complaint, and therefore, all such

allegations are denied.

      14.    Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 14 of the Complaint, and therefore, all such

allegations are denied.

      15.    Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 15 of the Complaint, and therefore, all such

allegations are denied. Defendant admits Plaintiff’s route on August 20, 2020, placed

him eastbound on Interstate 40.

      16.    Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 16 of the Complaint, and therefore, all such

allegations are denied.

      17.    Paragraph 17 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 17 of the Complaint.




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      18.    Defendant is without knowledge sufficient to admit or deny the

allegations contained in paragraph 18 of the Complaint, and therefore, all such

allegations are denied.

      19.    Paragraph 19 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 19 of the Complaint.

      20.    Paragraph 20 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 20 of the Complaint.

      21.    Paragraph 21 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 21 of the Complaint.

      22.    Paragraph 22 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 22 of the Complaint.

      23.    Paragraph 23 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant




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asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 23 of the Complaint.

      24.    Defendant asserts that the Arkansas Driver License Study Guide

speaks for itself and denies any and all remaining allegations contained in paragraph

24 of the Complaint.

      25.    Defendant asserts that the Arkansas Driver License Study Guide

speaks for itself and denies any and all remaining allegations contained in paragraph

25 of the Complaint.

      26.    Defendant denies the allegations contained in paragraph 26 of the

Complaint.

      27.    Paragraph 27 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 27 of the Complaint. Defendant

denies any and all remaining allegations contained in paragraph 27 of the Complaint.

      28.    Paragraph 28 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 28 of the Complaint.

      29.    Paragraph 29 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant




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asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 29 of the Complaint.

      30.    Defendant denies the characterization of facts set forth in paragraph 30

of the Complaint.

      31.    Paragraph 31 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 31 of the Complaint.

      32.    Paragraph 32 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 32 of the Complaint.

      33.    Defendant denies the allegations contained in paragraph 33 of the

Complaint.

      34.    Defendant admits he initiated a stop just passed Exit 81 and admits that

Plaintiff pulled over at the end of the eastbound onramp from Exit 81 to the

interstate, but denies any and all remaining allegations contained in paragraph 34 of

the Complaint.

      35.    Paragraph 35 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 35 of the Complaint.




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      36.    Paragraph 36 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 36 of the Complaint.

      37.    Defendant admits the allegations contained in paragraph 37 of the

Complaint.

      38.    Defendant is without knowledge sufficient to admit or deny allegations

related to the Plaintiff’s state of mind and therefore denies such allegations.

Defendant denies any and all remaining allegations contained in paragraph 38 of the

Complaint.

      39.    Paragraph 39 of the Complaint makes no allegations against the

Defendant, and therefore, demands no response of the Defendant. To the extent a

response is required, Defendant denies any and all allegations contained in

paragraph 39 of the Complaint.

      40.    Defendant admits the allegations contained in paragraph 40 of the

Complaint.

      41.    Paragraph 41 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 41 of

the Complaint.




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      42.    Paragraph 42 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 42 of

the Complaint.

      43.    Defendant admits the allegations contained in paragraph 43 of the

Complaint.

      44.    Paragraph 44 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 44 of

the Complaint.

      45.    Paragraph 45 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 45 of

the Complaint.

      46.    Paragraph 46 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 46 of

the Complaint.




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      47.    Paragraph 47 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 47 of

the Complaint.

      48.    Paragraph 48 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 48 of

the Complaint.

      49.    Paragraph 49 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 49 of

the Complaint. Additionally, Paragraph 49 of the Complaint references and/or quotes

from a memorandum, which is not attached to the Complaint as an exhibit.

Defendant asserts that the memorandum will speak for itself. Defendant denies any

and all allegations of wrongdoing contained in paragraph 49 of the Complaint.

      50.    Paragraph 50 of the Complaint does not require a response from the

Defendant to the extent it sets forth a legal conclusion, to the extent a response is

required and concerning any and all remaining allegations, the Defendant denies any

and all allegations contained in paragraph 50 of the Complaint.




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      51.    Paragraph 51 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 51 of

the Complaint and denies the factual characterization contained in paragraph 51 of

the Complaint.

      52.    Defendant admits the allegations contained in paragraph 52 of the

Complaint.

      53.    Paragraph 53 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 53 of the Complaint.

      54.    Defendant denies the allegations contained in paragraph 54 of the

Complaint.

      55.    Defendant denies the allegations contained in paragraph 55 of the

Complaint.

      56.    Defendant denies the allegations contained in paragraph 56 of the

Complaint.

      57.    Defendant denies the allegations contained in paragraph 57 of the

Complaint.

      58.    Defendant denies the allegations contained in paragraph 58 of the

Complaint.




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      59.    Defendant admits he possessed Plaintiff’s driver’s license and rental

agreement upon exiting his vehicle but is without information sufficient to admit or

deny any allegations concerning the state of mind of the Plaintiff, and therefore, all

remaining allegations in paragraph 59 of the Complaint are denied.

      60.    Paragraph 60 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 60 of

the Complaint.

      61.    Defendant denies the allegations contained in paragraph 61 of the

Complaint.

      62.    Paragraph 62 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 62 of

the Complaint. Defendant specifically denies that he was “attempting to manufacture

a basis to search” as alleged in paragraph 62 of the Complaint.

      63.    Paragraph 63 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 63 of

the Complaint.




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      64.    Defendant denies the allegations contained in paragraph 64 of the

Complaint.

      65.    Paragraph 65 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 65 of

the Complaint.

      66.    Defendant denies the allegations contained in paragraph 66 of the

Complaint.

      67.    Paragraph 67 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 67 of

the Complaint.

      68.    Paragraph 68 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 68 of

the Complaint.

      69.    Defendant denies the allegations contained in paragraph 69 of the

Complaint. Additionally, paragraph 69 of the Complaint references and/or appears to

summarize or paraphrase alleged dialogue and/or actions contained in a video, not




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attached to the Complaint as an exhibit. Defendant asserts that the video will speak

for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 69 of the Complaint.

      70.   Paragraph 70 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 70 of

the Complaint.

      71.   Defendant is without information sufficient to admit or deny allegations

concerning what the Plaintiff’s father heard and such allegations therefore are

denied. Additionally, paragraph 71 of the Complaint references and/or appears to

summarize or paraphrase alleged dialogue and/or actions contained in a video, not

attached to the Complaint as an exhibit. Defendant asserts that the video will speak

for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 71 of the Complaint.

      72.   Paragraph 72 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 72 of

the Complaint.

      73.   Paragraph 73 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to




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the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 73 of

the Complaint.

      74.   Paragraph 74 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 74 of

the Complaint.

      75.   Paragraph 75 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 75 of

the Complaint.

      76.   Defendant is without information sufficient to admit or deny allegations

concerning what the Plaintiff believed and such allegations therefore are denied.

Additionally, paragraph 76 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 76 of

the Complaint.




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      77.    Paragraph 77 of the Complaint does not require a response from the

Defendant as it sets forth a legal conclusion, but to the extent a response is required,

the Defendant denies any and all allegations contained therein.

      78.    Paragraph 78 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 78 of

the Complaint.

      79.    Paragraph 79 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 79 of

the Complaint and denies that he was “perturbed that Marion would not consent” as

alleged in paragraph 79 of the Complaint.

      80.    Paragraph 80 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 80 of

the Complaint.

      81.    Paragraph 81 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.




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Defendant denies any and all allegations of wrongdoing contained in paragraph 81 of

the Complaint. Defendant admits he called for a K-9.

      82.   Defendant denies the factual characterizations and allegations

contained in paragraph 82 of the Complaint. Additionally, paragraph 82 of the

Complaint references and/or appears to summarize or paraphrase alleged dialogue

and/or actions contained in a video, not attached to the Complaint as an exhibit.

Defendant asserts that the video will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 82 of the Complaint.

      83.   Paragraph 83 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 83 of

the Complaint.

      84.   Paragraph 84 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 84 of

the Complaint. Defendant admits he contacted officer Davis.

      85.   Paragraph 85 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.




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Defendant denies any and all allegations of wrongdoing contained in paragraph 85 of

the Complaint.

      86.    Defendant denies the allegations contained in paragraph 86 of the

Complaint.

      87.    Paragraph 87 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 87 of

the Complaint.

      88.    Paragraph 88 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 88 of

the Complaint.

      89.    Paragraph 89 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 89 of

the Complaint.

      90.    Paragraph 90 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.




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Defendant denies any and all allegations of wrongdoing contained in paragraph 90 of

the Complaint.

      91.    Paragraph 91 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 91 of

the Complaint.

      92.    Defendant denies the allegations contained in paragraph 92 of the

Complaint.

      93.    Defendant is without information sufficient to admit or deny any

allegations concerning Plaintiff’s state of mind and such allegations therefore are

denied. Additionally, paragraph 93 of the Complaint references and/or appears to

summarize or paraphrase alleged dialogue and/or actions contained in a video, not

attached to the Complaint as an exhibit. Defendant asserts that the video will speak

for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 93 of the Complaint.

      94.    Paragraph 94 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 94 of

the Complaint. Defendant admits it appears that approximately 16 minutes elapsed

as alleged in paragraph 94 of the Complaint.




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      95.    Defendant denies the allegations contained in paragraph 95 of the

Complaint.

      96.    Paragraph 96 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 96 of

the Complaint.

      97.    Paragraph 97 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 97 of

the Complaint.

      98.    Paragraph 98 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 98 of

the Complaint.

      99.    Paragraph 99 of the Complaint references and/or appears to summarize

or paraphrase alleged dialogue and/or actions contained in a video, not attached to

the Complaint as an exhibit. Defendant asserts that the video will speak for itself.

Defendant denies any and all allegations of wrongdoing contained in paragraph 99 of

the Complaint.




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      100.   Paragraph 100 of the Complaint references and/or appears to

summarize or paraphrase alleged dialogue and/or actions contained in a video, not

attached to the Complaint as an exhibit. Defendant asserts that the video will speak

for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 100 of the Complaint.

      101.   Paragraph 101 of the Complaint references and/or appears to

summarize or paraphrase alleged dialogue and/or actions contained in a video, not

attached to the Complaint as an exhibit. Defendant asserts that the video will speak

for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 101 of the Complaint. Defendant generally admits the Plaintiff was placed

in handcuffs and placed in Defendant’s vehicle during the search.

      102.   Paragraph 102 of the Complaint references and/or appears to

summarize or paraphrase alleged dialogue and/or actions contained in a video, not

attached to the Complaint as an exhibit. Defendant asserts that the video will speak

for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 102 of the Complaint.

      103.   Defendant denies the allegations contained in paragraph 103 of the

Complaint. Additionally, paragraph 103 of the Complaint references and/or appears

to summarize or paraphrase alleged dialogue and/or actions contained in a video, not

attached to the Complaint as an exhibit. Defendant asserts that the video will speak

for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 103 of the Complaint.




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      104.   Paragraph 104 of the Complaint references and/or appears to

summarize or paraphrase alleged dialogue and/or actions contained in a video, not

attached to the Complaint as an exhibit. Defendant asserts that the video will speak

for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 104 of the Complaint.

      105.   Defendant denies the allegations contained in paragraph 105 of the

Complaint.

      106.   Defendant is without information sufficient to admit or deny the

allegations contained in paragraph 106 of the Complaint and such allegations

therefore are denied.

      107.   Defendant admits the Plaintiff remained in the backseat of Defendant’s

vehicle while a search was conducted but denies any and all remaining allegations

contained in paragraph 107 of the Complaint.

      108.   Defendant admits the Plaintiff remained in the backseat of Defendant’s

vehicle while a search was conducted but denies any and all remaining allegations

contained in paragraph 108 of the Complaint.

      109.   Defendant admits the Plaintiff remained in the backseat of Defendant’s

vehicle while a search was conducted but denies any and all remaining allegations

contained in paragraph 109 of the Complaint.

      110.   Paragraph 110 of the Complaint references and/or appears to

summarize or paraphrase alleged dialogue and/or actions contained in a video, not

attached to the Complaint as an exhibit. Defendant asserts that the video will speak




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for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 110 of the Complaint.

      111.   Paragraph 111 of the Complaint references and/or appears to

summarize or paraphrase alleged dialogue and/or actions contained in a video, not

attached to the Complaint as an exhibit. Defendant asserts that the video will speak

for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 111 of the Complaint.

      112.   Defendant denies the allegations contained in paragraph 112 of the

Complaint.

      113.   Defendant admits narcotics were not found in the truck but is without

information sufficient to admit or deny the remaining allegations contained in

paragraph 113 of the Complaint and such allegations therefore are denied.

      114.   Defendant denies the factual characterizations contained in paragraph

114 of the Complaint. Additionally, paragraph 114 of the Complaint references and/or

appears to summarize or paraphrase alleged dialogue and/or actions contained in a

video, not attached to the Complaint as an exhibit. Defendant asserts that the video

will speak for itself. Defendant denies any and all allegations of wrongdoing

contained in paragraph 114 of the Complaint.

      115.   Defendant denies the allegations contained in paragraph 115 of the

Complaint.

      116.   Defendant denies the allegations contained in paragraph 116 of the

Complaint.




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      117.   Paragraph 117 of the Complaint references and/or appears to

summarize or paraphrase alleged dialogue and/or actions contained in a video, not

attached to the Complaint as an exhibit. Defendant asserts that the video will speak

for itself. Defendant denies any and all allegations of wrongdoing contained in

paragraph 117 of the Complaint.

      118.   Defendant denies the factual characterizations contained in paragraph

118 of the Complaint. Additionally, paragraph 118 of the Complaint references and/or

appears to summarize or paraphrase alleged dialogue and/or actions contained in a

video, not attached to the Complaint as an exhibit. Defendant asserts that the video

will speak for itself. Defendant denies any and all allegations of wrongdoing

contained in paragraph 118 of the Complaint.

      119.   Defendant denies the allegation that he made a “false assertion” as set

forth in paragraph 119 of the Complaint.       Additionally, paragraph 119 of the

Complaint references and/or appears to summarize or paraphrase alleged dialogue

and/or actions contained in a video, not attached to the Complaint as an exhibit.

Defendant asserts that the video will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 119 of the Complaint.

      120.   Defendant denies the allegations contained in paragraph 120 of the

Complaint.

      121.   Defendant admits the search eventually concluded and no narcotics

were located but denies the allegations and characterizations in paragraph 121 of the

Complaint.




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      122.   Defendant admits the allegations contained in paragraph 122 of the

Complaint.

      123.   Defendant denies the allegations contained in paragraph 123 of the

Complaint.

      124.   Defendant denies the allegations contained in paragraph 124 of the

Complaint.

      125.   Defendant denies the allegations contained in paragraph 125 of the

Complaint.

      126.   Defendant denies the allegations contained in paragraph 116 of the

Complaint.

      127.   Defendant denies the allegations contained in paragraph 127 of the

Complaint concerning an alleged “pretextual and unlawful stop and search” and is

without information sufficient to admit or deny whether this incident received

“significant media attention” and such allegations therefore are denied.

      128.   Defendant denies the allegations and characterizations contained in

paragraph 128 of the Complaint.

      129.   Defendant denies the allegations contained in paragraph 129 of the

Complaint.

      130.   Paragraph 130 of the Complaint references and/or quotes from a

memorandum, which is not attached to the Complaint as an exhibit. Defendant

asserts that the memorandum will speak for itself. Defendant denies any and all

allegations of wrongdoing contained in paragraph 130 of the Complaint.




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      131.   Defendant denies the allegations contained in paragraph 131 of the

Complaint.

      132.   Defendant denies the allegations contained in paragraph 132 of the

Complaint.

      133.   Defendant denies the allegations contained in paragraph 133 of the

Complaint.

      134.   Defendant denies the allegations contained in paragraph 134 of the

Complaint.

      135.   Defendant denies the allegations contained in paragraph 135 of the

Complaint.

      136.   Defendant is without information sufficient to admit or deny allegations

as to the Plaintiff’s state of mind and such allegations therefore are denied. Defendant

denies his actions were taken with “no good reason” as alleged in paragraph 136 of

the Complaint.

      137.   Defendant is without information sufficient to admit or deny allegations

as to the Plaintiff’s state of mind and such allegations contained in paragraph 137 of

the Complaint therefore are denied.

      138.   Paragraph 138 of the Complaint does not require a response from the

Defendant but to the extent a response is required, the Defendant denies any and all

allegations contained therein.

      139.   Defendant denies the allegations contained in paragraph 139 of the

Complaint.




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       140.     Defendant denies the allegations contained in paragraph 140 of the

Complaint.

       141.     Defendant denies the allegations contained in paragraph 141 of the

Complaint.

       142.     Defendant denies the allegations contained in paragraph 142 of the

Complaint.

       143.     Defendant denies the allegations contained in paragraph 143 of the

Complaint and specifically denies that Plaintiff is entitled to damages.

       144.     Defendant denies the allegations contained in paragraph 144 of the

Complaint and specifically denies that Plaintiff is entitled to punitive damages.

       145.     Defendant denies the allegations contained in paragraph 145 of the

Complaint and specifically denies that Plaintiff is entitled to recover his costs.

       146.     Defendant denies Plaintiff is entitled to any of the relief requested in

paragraphs 1-3 of the WHEREFORE section of the Complaint.

       147.     The Defendant denies each and every allegation contained in the

Complaint not specifically admitted herein and demands strict proof thereof.

       148.     Defendant states affirmatively that he has not engaged in any conduct

that violated any of the Plaintiff’s constitutional, statutory or other legal rights.

       149.     Defendant states affirmatively that the Complaint, or portions thereof,

should be dismissed pursuant to F.R.C.P. 12(b)(1) for lack of subject matter

jurisdiction.




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      150.   Defendant states affirmatively that the Complaint, or portions thereof,

should be dismissed pursuant to F.R.C.P. 12(b)(6) for failure to state a claim upon

which relief may be granted.

      151.   Defendant states affirmatively that this action is barred by qualified

immunity.

      152.   Defendant states affirmatively that to the extent Plaintiff has sustained

damages, such damages are a direct and proximate result of Plaintiff’s own conduct.

      153.   The Defendant denies Plaintiff is entitled to damages, including

compensatory or punitive damages, as alleged in the Complaint.

      154.   In addition, to the extent any of the following affirmative defenses apply,

Defendant asserts the following: sovereign immunity, qualified immunity, and/or

statutory immunity; statute of limitations; failure to mitigate damages; justification;

insufficient process, and insufficient service of process; waiver; and failure to join an

indispensable party.

      155.   The Defendant reserves the right to assert additional affirmative

defenses and amend his Answer pending further investigation and discovery of this

matter.

      156.   The Defendant demands a trial by jury.

      WHEREFORE, the Defendant Steven Payton prays this Court dismiss

Plaintiff’s Complaint against him, and for all other just and proper relief to which the

Defendant is entitled.




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                                        Respectfully submitted,

                                        LESLIE RUTLEDGE
                                        Attorney General

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                                        Attorneys for Defendant




                           CERTIFICATE OF SERVICE

       I, William C. Bird, hereby certify that on April 12, 2021, I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system notifying all
parties.

                                               William C. Bird




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